      Case 1:17-cv-01167-JEB Document 12 Filed 08/08/17 Page 1 of 1


                             UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLUMBIA

GANNETT SATELLITE INFORMATION *
NETWORK, LLC et al.            *
                               *
     Plaintiff,                *
                               *
     v.                        *   Civil Action No. 17-cv-01167 (JEB)
                               *   (previously 17-cv-01175)
DEPARTMENT OF JUSTICE          *
                               *
     Defendant                 *
*    *       *   *   *   *     *   *      *       *      *     *
                    NOTICE OF APPEARANCE

    The undersigned counsel hereby files his Notice of Appearance on behalf of the

plaintiffs in this action.

Date: August 8, 2017

                                            Respectfully submitted,

                                                   /s/
                                            __________________________
                                            Mark S. Zaid, Esq.
                                            D.C. Bar #440532
                                            Mark S. Zaid, P.C.
                                            1250 Connecticut Avenue, N.W.
                                            Suite 200
                                            Washington, D.C. 20036
                                            (202) 454-2809
                                            (202) 330-5610 fax
                                            Mark@MarkZaid.com

                                            Attorney for Plaintiffs
